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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,
                                                       Case No. 92-81127
v.                                                     Hon: AVERN COHN

DONALD JACKSON,

        Defendant.

________________________________/

        MEMORANDUM AND ORDER DENYING DEFENDANT’S MOTION FOR
                     SENTENCING MODIFICATION

                                     I. Introduction

        This is a criminal case. Defendant Donald Jackson (Jackson) has filed a “Motion

for Modification of Sentence” in which he seeks relief from his 292 month sentence in

light of Amendment 706 to the Sentencing Guidelines which reduced the offense levels

for crack cocaine offenses. For the reasons which follow, the motion will be denied.

                                        II. Facts

        On February 21, 1995, Jackson was arrested on a second superceding

indictment charging him, and forty-two other individuals, with various drug and weapons

violations. Jackson was convicted of conspiracy to possess with intent to distribute

cocaine and cocaine base (crack) in violation of 21 U.S.C. §§ 841 and 846(a)(1). On

May 9, 1996 he was sentenced to a term of imprisonment of 292 months. Under the

sentencing guidelines, Jackson was sentenced as follows:
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      Base Offense Level - Possession of Cocaine              28
            Use of a firearm                                        +2
                                                                     30

      Criminal History Category                                      I

      Sentencing Range                                        292-365 months


Jackson filed a direct appeal. The Court of Appeals for the Sixth Circuit affirmed. See

United States v. Polk, Nos. 96-1492, 96-1512, 96-1512, 96-1533, 1999 WL 397922 (6th

Cir., June 2, 1999) (unpublished).

      Jackson filed a motion under 28 U.S.C. § 2255 arguing that the United States

Supreme Court’s decision in Apprendi v. New Jersey, 530 U.S. 466, 490 (2000) entitled

him to relief. The Court denied the motion. See Memorandum and Order filed

November 6, 2001. Jackson did not appeal the denial of the § 2255 motion.

      Jackson subsequently filed a “Motion for Modification of Sentence Pursuant to 18

U.S.C. § 3582(c)(2)” arguing that the United States Supreme Court’s decision in United

States v. Booker, 543 U.S. 220 (2005) entitled him to relief. The Court denied the

motion. See Memorandum and Order filed November 2, 2005. Jackson filed an

appeal. The Sixth Circuit affirmed. See United States v. Jackson, No. 05-2711 (6th Cir.

Sept. 25, 2006) (unpublished).

      On January 31, 2008 Jackson filed the instant motion.

                                     III. Legal Standard

      Jackson requests relief under 18 U.S.C. § 3582(c)(2) which permits the Court to

modify a term of imprisonment where the defendant was “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission.” § 3582(c)(2). In 2007, the Sentencing Commission
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promulgated Amendment 706 which has the effect of reducing by two levels the offense

level for most cocaine-base offenses. Section 1B1.10 of the Sentencing Guidelines

governs the retroactive application of amendments. The Commission has included

Amendment 706, as amended by Amendment 711, among the amendments which can

be retroactively applied. U.S.S.G. § 1B1.10(c). See U.S. Sentencing Guidelines Manual

app. C., amend. 713 (2008).

       While defendants who are convicted of a cocaine-base offense are generally

eligible for a sentence modification under 18 U.S.C. § 3582, section 1B1.10(a)(2)

prohibits the reduction of a defendant’s term of imprisonment if:

       A.     none of the amendments listed in subsection (c) is applicable to the
              defendant; or
       B.     an amendment listed in subsection (c) does not have the effect of lowering
              the defendant’s applicable guideline range.

U.S.S.G. § 1B1.10(a)(2). The Sixth Circuit has held that U.S.S.G. § 1B1.10(a)(2)(B)

applies to defendants who were convicted of cocaine-base offenses, but were

sentenced based on other offenses. United States v. Johnson, F.3d 619, 625 (6th Cir.

2009) (affirming denial of motion to modify sentence under 18 U.S.C. § 3582 when

defendants were convicted of both cocaine and cocaine-base offenses, but were

sentenced based on the cocaine offense only). Thus a defendant who is convicted of a

cocaine-base offense is not eligible for sentence modification under 18 U.S.C. §

3582(c)(2) unless his sentence also resulted from the application of the cocaine-base

offense levels.

                                      IV. Analysis

       Jackson was convicted of conspiracy to possess both cocaine and cocaine base.

However, the offense level used to calculate his sentence was based solely upon the
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finding that he was responsible for 487 kilos of cocaine. There were no findings at his

sentencing related to cocaine base. Therefore the application of Amendment 706 would

not have the effect of lowering Jackson’s applicable guideline range. Because

Jackson’s sentence was not based on the guidelines applicable to offenses involving

cocaine base, U.S.S.G. § 1B1(a)(2)(B) prohibits the modification of his sentence under

§ 3582(c)(2).

                                     V. Conclusion

      For the reasons above, Jackson’s motion is DENIED.

      So ORDERED



                                          s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


Dated: September 3, 2009


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record and Donald Jackson, #20136-039, FCI Fort Dix, P.O. Box 2000, Fort Dix, NJ
08640 on this date, September 3, 2009, by electronic and/or ordinary mail.


                                          s/LaShawn R. Saulsberry
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